Case 2:03-cr-20364-SH|\/| Document 136 Filed 04/21/05 Page 1 of 2 Page|D 167

 

IN THE UNITED sTATEs DISTRICT cotm'r -“? __
FoR THE wEsTERN DIsTRIcT oF TENNESSEE §§ _ f
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03-20364-Ma

VS.

TIWANN DGWAYNE JEFFERSON,

-_'-..z---._,-._.¢-._r-._r-._.¢~._r

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 2l, 2005 at 2:00 p.m.

The period. fron1 March, 25, 2005 through May l3, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3161(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

___:f::é;_day of April, 2005.

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SAMUEL H. MAYS, JR. fr
This document entered on the docket sheet in compiiance UNITED STATES DISTRICT JUDGE \
with Rule 55 and/oraz(b) FRch on ‘\'9 \'0 § /jé/

IT IS SO ORDERED this

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 136 in
case 2:03-CR-20364 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

